      Case: 1:19-cv-04620 Document #: 1 Filed: 07/09/19 Page 1 of 9 PageID #:1




                           UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

DONNIE F. WEBB,                             )
                                            )
             Plaintiff                      )
                                            )
      v.                                    )         No. 1:19-cv-4620
                                            )
JOHN WHEELER, M.D.,                         )
BELINDA LI, M.D. and                        )
UNITED STATES OF AMERICA,                   )
                                            )
             Defendants                     )
                                            )


                                  COMPLAINT AT LAW


      Now Comes, Plaintiff, DONNIE F. WEBB, by and through his attorneys, Karlin, Fleisher

& Falkenberg, LLC, before this Court complaining of the Defendants, JOHN WHEELER, M.D.,

BELINDA LI, M.D., and UNITED STATES OF AMERICA, as follows:

                              JURISDICTION AND VENUE

      1.     Plaintiff is a resident of the City of Chicago, County of Cook, State of Illinois.

      2.     Plaintiff brings his claim against John Wheeler, M.D., Belinda Li, M.D., and

             United States of America, pursuant to the Federal Tort Claims Act, 28 U.S.C.

             §2671, et seq, and 28 U.S.C. §1346(b)(1), for monetary damages as compensation

             for medical negligence caused by acts and/or omissions of John Wheeler, M.D.,

             Belinda Li, M.D., and the employees of United States of America.

      3.     Venue is proper in that all of the acts and/or omissions alleged herein occurred in

             the Northern District of Illinois, Eastern Division.



                                                -1-
Case: 1:19-cv-04620 Document #: 1 Filed: 07/09/19 Page 2 of 9 PageID #:2




4.     Plaintiff has fully complied with the provisions of 28 U.S.C. §2675 of the Federal

       Tort Claims Act.

5.     Plaintiff served notice of his claim upon the Department of Veterans Affairs on or

       about June 29, 2017. The aforesaid Department acknowledge receipt of said

       claim in writing on or about July 5, 2017. Over six months have lapsed without a

       written final denial of the aforesaid claim, making this Complaint timely and

       compliant with 28 U.S.C. 2675.



                     FACTUAL BASIS OF THE CLAIM

                                     COUNT I

6.     On or about July 16, 2015, Plaintiff, DONNIE F. WEBB, presented to the Hines

       VA Hospital in the unincorporated community of Hines, County of Cook, State of

       Illinois, for surgical placement of a penile prosthesis.

7.     Defendant, BELINDA LI, M.D., was the surgeon for the aforesaid procedure, and

       Defendant, JOHN WHEELER, M.D., was the attending for the aforesaid

       procedure.

8.     At all times relevant herein, Defendants, BELINDA LI, M.D. and JOHN

       WHEELER, M.D., were actual and/or apparent agents and/or employees of

       Defendant, UNITED STATES OF AMERICA.

9.     On that date, Defendants, BELINDA LI, M.D. and JOHN WHEELER, M.D., had

       a duty to act in a reasonably careful manner in their care and treatment of

       Plaintiff, DONNIE F. WEBB.




                                         -2-
      Case: 1:19-cv-04620 Document #: 1 Filed: 07/09/19 Page 3 of 9 PageID #:3




       10.     Despite the aforesaid duty, Defendants, BELINDA LI, M.D. and JOHN

               WHEELER, M.D, breached their duty to Plaintiff, DONNIE F. WEBB, in the

               following respects:

               a.      Failed to empty Plaintiff’s bladder prior to the procedure
                       using a catheter;

               b.      Failed to abort the procedure, once the bladder was
                       punctured/lacerated; and

               c.      Placed a malleable penile prosthesis.

       11.     As a direct and proximate result, on July 16, 2015, Defendants, BELINDA LI,

               M.D. and JOHN WHEELER, M.D., punctured/lacerated Plaintiff’s bladder during

               the aforesaid surgery and Plaintiff did not receive an inflatable penile prosthesis.

       12      As a direct and proximate result of that bladder puncture, the recovery therefrom,

               and the resulting lower extremity weakness, Plaintiff, DONNIE F. WEBB, has

               been required to seek medical care and will in the future require medical care; has

               suffered pain and discomfort and will in the future continue to suffer pain and

               discomfort; has lost wages and will in the future lose wages; has been prevented

               in engaging in activities of his daily life and will in the future be prevented from

               engaging in activities of his daily life; and has experienced disfigurement, all as a

               result of Defendants’ conduct, as aforesaid.

       WHEREFORE, Plaintiff, DONNIE F. WEBB, prays that this Court enters Judgment

against the Defendants, BELINDA LI, M.D. and JOHN WHEELER, M.D., for damages in

excess of five hundred thousand dollars ($500,000.00), plus costs of this suit, and grants such

other, further, and different relief as this Court deems equitable and just under the circumstances.




                                                -3-
Case: 1:19-cv-04620 Document #: 1 Filed: 07/09/19 Page 4 of 9 PageID #:4




                                    COUNT II

13.    On or about July 16, 2015, Plaintiff, DONNIE F. WEBB, presented to the Hines

       VA Hospital in the unincorporated community of Hines, County of Cook, State of

       Illinois, for surgical placement of a penile prosthesis.

14.    At all times relevant herein, Defendant, UNITED STATES OF AMERICA,

       owned and/or operated the aforesaid Hines VA Hospital.

15.    At all times relevant herein, BELINDA LI, M.D. and JOHN WHEELER, M.D.

       were actual and/or apparent agents and/or employees of Defendant, UNITED

       STATES OF AMERICA.

16.    BELINDA LI, M.D., was the surgeon for the aforesaid procedure, and JOHN

       WHEELER, M.D., was the attending for the aforesaid procedure.

17.    On the aforesaid date, Defendant, UNITED STATES OF AMERICA, acting by

       and through its actual and/or apparent agents and/or employees, including but not

       limited to BELINDA LI, M.D. and JOHN WHEELER, M.D., had a legal duty

       requiring its agents or employees to act in a reasonably careful manner in their

       care and treatment of Plaintiff, DONNIE F. WEBB.

18.    Despite the aforesaid duty, Defendant, UNITED STATES OF AMERICA, acting

       by and through its actual and/or apparent agents and/or employees, including but

       not limited to BELINDA LI, M.D. and JOHN WHEELER, M.D., breached its

       duty to Plaintiff, DONNIE F. WEBB, in the following respects:

       a.     Failed to empty Plaintiff’s bladder prior to the procedure
              using a catheter;

       b.     Failed to abort the procedure, once the bladder was
              punctured/lacerated; and


                                         -4-
      Case: 1:19-cv-04620 Document #: 1 Filed: 07/09/19 Page 5 of 9 PageID #:5




              c.     Placed a malleable penile prosthesis.

       19.    As a direct and proximate result, on July 16, 2015, Defendant, UNITED STATES

              OF AMERICA, acting by and through its actual and/or apparent agents and/or

              employees, including but not limited to BELINDA LI, M.D. and JOHN

              WHEELER, M.D., punctured/lacerated Plaintiff’s bladder during the aforesaid

              surgery and Plaintiff did not receive an inflatable penile prosthesis.

       20     As a direct and proximate result of that bladder puncture, the recovery therefrom,

              and the resulting lower extremity weakness, Plaintiff, DONNIE F. WEBB, has

              been required to seek medical care and will in the future require medical care; has

              suffered pain and discomfort and will in the future continue to suffer pain and

              discomfort; has lost wages and will in the future lose wages; has been prevented

              in engaging in activities of his daily life and will in the future be prevented from

              engaging in activities of his daily life; and has experienced disfigurement, all as a

              result of Defendants’ conduct, acting by and through its actual and/or apparent

              agents and/or employees, as aforesaid.

       WHEREFORE, Plaintiff, DONNIE F. WEBB, prays that this Court enters Judgment

against the Defendant, UNITED STATES OF AMERICA, for damages in excess of five hundred

thousand dollars ($500,000.00), plus costs of this suit, and grants such other, further, and




                                               -5-
       Case: 1:19-cv-04620 Document #: 1 Filed: 07/09/19 Page 6 of 9 PageID #:6




different relief as this Court deems equitable and just under the circumstances.

                                             DONNIE F. WEBB, Plaintiff

                                             /s/Brian K. Hetzer
                                             Brian K. Hetzer
                                             Karlin, Fleisher & Falkenberg, LLC
                                             His Attorneys


                                        JURY DEMAND

        Plaintiff demands a trial by jury of twelve on each and every count of his complaint.

                                             DONNIE F. WEBB, Plaintiff

                                             /s/Brian K. Hetzer
                                             Brian K. Hetzer
                                             Karlin, Fleisher & Falkenberg, LLC
                                             His Attorneys




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                                                -6-
           Case: 1:19-cv-04620 Document #: 1 Filed: 07/09/19 Page 7 of 9 PageID #:7




                                               AFFIDAVIT

        Brian K. Hetzer, being first duly sworn, states as follows:

        I am an attorney employed by KARLIN, FLEISHER & FALKENBERG, LLC, who are the

attorneys for Donnie F. Webb.

        I have consulted and reviewed the facts of the case with a healthcare professional whom I believe is

knowledgeable in the relevant issues in this particular action, practices, or has practiced in the last five

years, in the same area of medicine that is at issue in this particular action and is qualified by experience in

the subject of this case.

        The reviewing healthcare professional has determined in a written report, after a review of the

medical record, that there is a reasonable and meritorious cause for the filing of such an action.

        I have concluded on the basis of the reviewing healthcare professional’s review and consultation,

that there is a reasonable and meritorious cause for the filing of this action.

        A copy of the reviewing healthcare professional’s report is attached to this Affidavit.

        Under penalties as provided by law pursuant to 735 ILCS 5/1-109, I certify that the statements set

forth herein are true and correct.

                                                         /s/ Brian K. Hetzer
                                                         Brian K. Hetzer


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Case: 1:19-cv-04620 Document #: 1 Filed: 07/09/19 Page 8 of 9 PageID #:8
Case: 1:19-cv-04620 Document #: 1 Filed: 07/09/19 Page 9 of 9 PageID #:9
